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10   UNITED STATES OF AMERICA

11                          UNITED STATES DISTRICT COURT

12                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

13   UNITED STATES OF AMERICA,               No. SA 18-257M

14                   Plaintiff,              MOTION TO DISMISS THE COMPLAINT
                                             WITHOUT PREJUDICE
15                   v.

16   STEPHEN WILLIAM BEAL,

17                   Defendant.

18

19         Plaintiff United States of America, by and through its attorney
20   of record, the United States Attorney for the Central District of
21   California, moves to dismiss the complaint against defendant STEPHEN
22   WILLIAM BEAL without prejudice.       Further examination by the Federal
23   Bureau of Investigation raises questions as to whether the devices
24   ///
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1    meet the statutory definition for a “destructive device” contained in

2    18 U.S.C. § 5845.

3    Dated: May 26, 2018                  Respectfully submitted,

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